                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                              No. CR06-4017-MWB
 vs.                                                   DETENTION ORDER
 BERNABE MENDOZA,
               Defendant.
                                ____________________


       This matter came on for detention hearing on March 10, 2006. Assistant U.S.
Attorney John Lammers appeared on behalf of the plaintiff (the “Government”). The
defendant Bernabe Mendoza was present in person with his attorney, Assistant Federal
Defender Robert Wichser. The Government offered the testimony of Task Force Officer
Mike Simons.
       The court must determine whether any condition or combination of conditions will
reasonably assure Mendoza’s appearance as required, as well as the safety of any other
person and the community, in deciding whether to grant the Government's motion for
detention. 18 U.S.C. § 3142(e). A defendant may be detained based on a showing of
either dangerousness or risk of flight; it is not necessary to show both. United States v.
Apker, 964 F.2d 742, 743 (8th Cir. 1992); United States v. Sazenski, 806 F.2d 846,848
(8th Cir. 1986).
       The court is to presume that no condition or combination of conditions will
reasonably assure the appearance of Mendoza as required and the safety of the community
if the court finds there is probable cause to believe Mendoza committed an offense for
which a maximum term of imprisonment of ten years or more is prescribed in the
Controlled Substances Act, 21 U.S.C. § 801 et seq. This presumption is subject to rebuttal
by Mendoza. 18 U.S.C. § 3142(e); see 18 U.S.C. § 3142(f)(1)(C). The probable cause


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element of section 3142(e) that triggers the rebuttable presumption of risk of flight and
danger to the community may be established through evidence presented at the detention
hearing of an offense which is subject to the rebuttable presumption. See Apker, 964 F.2d
at 744; United States v. Dorsey, 852 F.2d 1068, 1069 (8th Cir. 1988). A grand jury’s
indictment provides the probable cause required under 18 U.S.C. § 3142(e) to trigger the
rebuttable presumption of risk of flight and danger to the community. See United States
v. Garcia, 801 F. Supp. 258 (S.D. Iowa 1992) (citations omitted).
       In the present case, the evidence indicates Mendoza has engaged repeatedly in
criminal conduct. He has two prior felony convictions, as well as numerous alcohol-
related charges and driving offenses. Of particular significance to the court in the
detention determination is the fact that, on this record, Mendoza was involved in very
large-scale drug transactions seventeen months after he was discharged from parole after
serving time for a drug-related conviction.
       In addition, the Government’s case against Mendoza appears to be quite strong.
Mendoza participated in three controlled buys of large quantities of methamphetamine.
Mendoza has failed to offer any evidence to rebut the presumption that he would be a
danger to the community. The presumption arises from the charge itself – a serious drug
charge involving the manufacture and distribution of a significant quantity of methampheta-
mine. See United States v. Cox, 635 F. Supp. 1047, 1055 (D. Kan. 1986) (citing United
States v. Fortna, 769 F.2d 243, 247 (5th Cir. 1985). Viewing the record as a whole, the
court finds nothing to indicate Mendoza would be able to refrain from continuing to engage
in criminal activities if he were released. The court further finds that although Mendoza
has significant ties to the community, his behavior and the fact that he is facing a
significant sentence if convicted on these charges indicate he is a flight risk.
       Accordingly, the court finds the Government has proved by a preponderance of the
evidence that Mendoza is a flight risk, and has proved by clear and convincing evidence


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that Mendoza would be a danger to the community if released. Therefore, the court finds
the following:
      1.      Mendoza is committed to the custody of the Attorney General for
confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal.
      2.      The Attorney General shall afford Mendoza reasonable opportunity for
private consultation with counsel while detained.
      3.      On order of a court of the United States or on request of an attorney for the
Government, the person in charge of the corrections facility shall deliver Mendoza to the
United States Marshal for the purpose of an appearance in connection with a court
proceeding.
      4.      If a “review” motion for revocation or amendment is filed, pursuant to 28
U.S.C. § 3145(a) or (b), the party requesting a change in the original order must:
              (a)    Attach a copy of the release/detention order to the appeal;
              (b)    Promptly secure a transcript.
      5.      There is no automatic stay of this Order. Therefore, Mendoza must request
such relief from the court.
      IT IS SO ORDERED.
      DATED this 13th day of March, 2006.




                                          PAUL A. ZOSS
                                          MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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